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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

IN RE SUBPOENA ISSUED IN:                          Misc No. 1:21-mc-00194-KPF

MWK Recruiting, Inc. v. Jowers, et al.
pending in the U.S. District Court for the
Western District of Texas,
Case No. 1:18-cv-00444-RP

BREAKING MEDIA, INC.                               STIPULATION RE SUBPOENA, AND
dba ABOVE THE LAW,                                 SCHEDULING OF BRIEFING ON
                                                   MOTION TO QUASH
                                   Petitioner,

                     -against-

EVAN P. JOWERS,

                                 Respondent.


            Counsel to the parties, Petitioner Breaking Media, Inc., publisher of Above the

     Law(“Petitioner” or “ATL”) and Respondent Evan P. Jowers (“Respondent” or

     “Jowers”) stipulate and agree as follows. They request that the Court approve and So

     Order this Stipulation.

            Respondent Jowers through his counsel, Tauler Smith LLP, issued a Subpoena to

     non-party Petitioner Breaking Media, Inc., publisher of Above the Law

     ( “Petitioner” or “ATL”) seeking the production of certain documents and a deposition

     of Petitioner to be complied with by February 18, 2021 at 12:00pm (the

     “Subpoena”).

            Petitioner ATL moved to quash the Subpoena on February 17, 2021. On February

     18, 2021 the Court stayed Petitioner's obligation to comply with the Subpoena pending

     further order of the Court, allowed Petitioner ATL to file its supplemental briefing on

     February 25, 2021 and set Respondent's to file its Opposition on or before March 4, 2021.
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